       Case 18-61215-6-dd                   Doc 4 Filed 09/05/18 Entered 09/05/18 14:50:06                                Desc Ch 7
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Information to identify the case:
Debtor 1              Florence Annette Wolfe                                           Social Security number or ITIN        xxx−xx−8007
                      First Name   Middle Name     Last Name                           EIN _ _−_ _ _ _ _ _ _
Debtor 2                                                                               Social Security number or ITIN _ _ _ _
                      First Name   Middle Name     Last Name
(Spouse, if filing)
                                                                                       EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court            Northern District of New York                Date case filed for chapter 7 9/5/18

Case number:          18−61215−6−dd


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                             12/15

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered. This notice has important information about the case for creditors, debtors, and trustees, including
information about the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.
The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                 About Debtor 1:                                     About Debtor 2:

1.      Debtor's full name                       Florence Annette Wolfe

2.      All other names used in the
        last 8 years

3.     Address                                   18 Albany Avenue
                                                 Johnson City, NY 13790

4.     Debtor's attorney                         Thomas L. Knaphle
                                                 160 Court Street
       Name and address                          Binghamton, NY 13901

                                                 Contact phone (607) 722−6427

                                                 Email: lawclinic@stny.rr.com

5.     Bankruptcy trustee                        James C. Collins−Trustee                           Contact phone (607) 692−3344
                                                 P.O. Box 713
       Name and address                          Whitney Point, NY 13862−0713                       Email: collinslawoffice@aol.com
                                                                                                               For more information, see page 2 >
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Debtor Florence Annette Wolfe                                                                                         Case number 18−61215−6−dd


6. Bankruptcy clerk's office                    Alexander Pirnie Federal Building                               Office Hours: 9:00 A.M. to 4:00
                                                10 Broad Street, Room 230                                       P.M.
    Documents in this case may be filed at this Utica, NY 13502                                                 Contact phone 315−793−8101
    address. You may inspect all records filed
    in this case at this office or online at                                                                    Issued Date: 9/5/18
    www.pacer.gov.                               Court Website: www.nynb.uscourts.gov


7. Meeting of creditors                          October 15, 2018 at 10:15 AM                                   Location:
    Debtors must attend the meeting to be        The meeting may be continued or adjourned to a
    questioned under oath. In a joint case,      later date. If so, the date will be on the court               U.S. Courthouse & Federal
    both spouses must attend. Creditors may                                                                     Building, 15 Henry Street, lst
    attend, but are not required to do so.       docket.
                                                                                                                Fl.,Courtroom 2, Binghamton, NY
                                                                                                                13901
                                                 Bring picture I.D. and proof of social
                                                 security number.

8. Presumption of abuse                          The presumption of abuse does not arise.
    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                   File by the deadline to object to discharge or                   Filing deadline: 12/14/18
                                               to challenge whether certain debts are
    The bankruptcy clerk's office must receive dischargeable:
    these documents and any required filing
    fee by the following deadlines.
                                                 You must file a complaint:
                                                 • if you assert that the debtor is not entitled to
                                                   receive a discharge of any debts under any of the
                                                   subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                   or

                                                 • if you want to have a debt excepted from discharge
                                                   under 11 U.S.C § 523(a)(2), (4), or (6).

                                                 You must file a motion:
                                                 • if you assert that the discharge should be denied
                                                   under § 727(a)(8) or (9).


                                                 Deadline to object to exemptions:                              Filing deadline: 30 days after the
                                                 The law permits debtors to keep certain property as            conclusion of the meeting of creditors
                                                 exempt. If you believe that the law does not authorize an
                                                 exemption claimed, you may file an objection.
                                                                                                                Filing deadline: 12/14/18
                                                 Deadline for Financial Management:
                                                 Deadline to file Cert. of Completion of Post−Filing Personal
                                                 Financial Management Course (Offical Form B423)
                                                 Debtor must complete course to receive
                                                 discharge.


10. Proof of claim                               Please do not file a proof of claim now. If it later appears that assets are available to pay
    Please do not file a proof of claim unless   creditors, the clerk will send you another notice telling you that you may file a proof of
    you receive a notice to do so.               claim and stating the deadline.

11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
                                     asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                     United States bankruptcy law if you have any questions about your rights in this case.

12. Exempt property                              The law allows debtors to keep certain property as exempt. Fully exempt property will
                                                 not be sold and distributed to creditors. Debtors must file a list of property claimed as
                                                 exempt. You may inspect that list at the bankruptcy clerk's office or online at
                                                 www.pacer.gov. If you believe that the law does not authorize an exemption that the
                                                 debtors claim, you may file an objection. The bankruptcy clerk's office must receive the
                                                 objection by the deadline to object to exemptions in line 9.
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                              page 2
